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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                           )
                                                    )                   8:15CR20
                        Plaintiff,                  )
                                                    )
        vs.                                         )                    ORDER
                                                    )
CRISPIN HERRA-HERRA,                                )
INES RIVADENEYRA-HERRERA,                           )
JOSE CONSOSPO-PEREZ, and                            )
JESUS MUNGUIA-AGUILAR,                              )
                                                    )
                        Defendants.                 )

        This matter is before the court on the motion for an extension of time by defendant Ines
Rivadeneyra-Herrera (Rivadeneyra-Herrera) (Filing No. 53). Rivadeneyra-Herrera seeks an extension
of sixty days in which to file pretrial motions in accordance with the progression order (Filing No. 49).
Upon consideration, the motion will be granted, and the pretrial motion deadline will be extended to
all defendants.


        IT IS ORDERED:
        Defendant Rivadeneyra-Herrera's motion for an extension of time (Filing No. 53) is granted. All
defendants in this matter are given until on or before June 17, 2015, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such motion and
outweigh the interests of the public and the defendant in a speedy trial. The additional time arising as
a result of the granting of the motion, i.e., the time between April 14, 2015, and June 17, 2015, shall
be deemed excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason defendants' counsel require additional time to adequately prepare the case, taking into
consideration due diligence of counsel, and the novelty and complexity of this case. The failure to grant
additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


        DATED this 14th day of April, 2015.
                                                        BY THE COURT:


                                                        s/ Thomas D. Thalken
                                                        United States Magistrate Judge
